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EXHIBIT B

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Appellate Bisizion of the Supreme Court
of the State of Nef Pork
Airat Judicial Department

JI, Basin Spokony, Clerk of the Appellate Ditiston of the
Supreme Court of the State of New Work, Hirst Judicial
Department, certify that

JOSEPH ANGLAND
fras duly licensed and admitted to practice as an Attorney and
Counsellor at Lato in all the courts of the State of Nef York on
July 7, 1977, has duly taken and subscribed the oath of office
prescribed by laf, has been enrolled in the Rall of Attorneys and
Counsellors at Wats on file in my office, has duly registered with
the atministratife office of the courts, and according to the records
of this court is in good standing as an attorney and counsellor at

lato.

du Witwess Whereof, I hate hereunto set my
hand and affixed the seal of this court on

8043

